‘ FILED
JUL 10 2019 te _

U.S. BANKRUPTCY COURT
United States Bankruptcy Court for the: SANTA ROSA, CA

    

eis Dera to ean reve case:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known} Chapter you are filing under:
- pler y'

 

EE Chapter 7
C1 Chapter 11
(1 Chapter 42

TA Chapter 43 (1 Check if this an
amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 42117

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—cailed a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debjfor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debfor 7 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If

more space is needed, attach a separate sheet to this form, On the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case}:
1. Your full name

Write the name thatison Jonathon

 

 

 

 

 

your government-issued First name “First name

picture identification (for

example, your drivers Bradiey

license or passport). Middle name Middie name

Bring your picture Cc

eg ohen

identification to your Last name and Suffix (Sr., Jr., Il, I) Last name and Suffix Gr. Jr, 8, I)

meeting with the trustee.

2, <All other names you have
used in the last 8 years

Include your married or
maiden names.

3. Only the [ast 4 digits of
your Social Security
number or federal XXK-XX-6754
individual Taxpayer
identification number
(ITIN)}

Official Form 401 Voluntary Petition for individuals Filing for Bankruptcy

‘|
Case: 19-10507 Doc# 1. Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page1of41

 
Debtor 1

Jonathon Bradiey Cohen

 

4. Any business names and
Employer Identification
Numbers (FIN} you have
used in the fast 8 years

Include trade names and
doing business as names

About Debtor 1:

@ i have not used any business name or EINs.

Case number ff known)

About Debtor 2 (Spouse Only in a Joint Case):

C1 | have not used any business name or EINs.

 

 

Business name{s}

Business name(s}

 

EINs

 

EINs

 

5. Where you live

3133 Stony Point
Santa Rosa, CA 95407

lf Debtor 2 fives at a different address:

 

 

Number, Street, City, State & ZIP Code

Sonoma

 

County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices fo you at this mailing address.

Number, Street, City, State & ZIP Code

 

 

Number, P.O. Box, Street, City, State & ZIP Code

County

lf Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

6. Why you are choosing
this district to file for
bankruptcy

Check one:

i Over the last 180 days before filing this petition,
[have lived in this district longer than in any
other district.

O] {have another reason.
Explain. (See-28 U.S.C. § 1408.)

 

Check one:

(] Over the last 180 days before filing this petition, |
have lived in this district longer than in any other
district.

1 [have another reason.
Explain. (See 28 U.S.C, § 1408.)

 

 

Official Form 101

Voluntary Petition for Individua!s Filing for Bankruptcy

page 2

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 2 of 41

 

 
Debtor 1

 

Jonathon Bradley Cohen ee Case number (if known)

 

@ Tell the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

residence?

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 17 U.S.C. § 342(b) for individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070)), Also, go to the top of page 1 and check the appropriate box.
choosing te file under

EB Chapter 7

FE Chapter 44

C1 Chapter 12

£) Chapter 13

8. How you will pay thefee — | will pay the entire fee when! fite my petition. Please check with the clerk's office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourseif, you may pay with cash, cashier's check, or money
order. If your attorney is submilling your payment on your behalf, your attorney may pay with a credit card or check with
a pre-printed address.

CJ __ [need to pay the fee in instaflments. if you choose this option, sign and attach the Application for Individuals to Pay
The Filing Fee in installments (Official Form 103A).

CsI request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but is not required to, waive your fee, and may do so only if your income Is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.

9. Have you filed for Biito

bankruptcy within the .

last 8 years? 0 Yes.
District _.._. When __ Case number __
District . When _ Case number —
District _ When Case number -

10. Are any bankruptcy MENo

cases pending or being

filed by aspouse whois [J Yes.

not filing this case with

you, or by a business

partner, or by an

affiliate?
Debtor Reiationship to you
District When Case number, if known
Debtor Relationship to you . __
District When Case number, if known”

11. Do you rent your MI No. Go to line f2.

O Yes. Has your landiord obtained an eviction judgment against you?
8 No. Go to line 12.

Oo Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
this bankruptcy petition.

 

Official Form 101 ,
Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 3 of 41

Voluntary Petition for Individuals Filing for Bankruptcy page 3

 
Debtor 1 Jonathon Bradley Cohen Case number (if known)

 

7 ; Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you asole proprietor
of any full- or part-time EE No. Go to Part 4.
business?

O Yes. Name and location of business

A sole proprietorship is a _
business you operate as Name of business, if any
an individual, and is not a
separate legal entity such
as a corporation,
partnership, or LLC.

 

 

If you have more than one Number, Streei, City, State & ZIP Cade

sole proprietorship, use a
separate sheet and attach
it to this petition. Check the appropriate box fo describe your business.

 

o Health Care Business (as defined in 14 U.S.C. § 104(27A))
Oo Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Oo Stockbroker fas defined in 11 U.S.C. § 101(63A})
oO Commodity Broker (as defined in #1 U.S.C. § 101(6}}
oO None of the above
13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
Chapter 11 of the deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
Bankruptcy Code and are operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
you a smail business in 44 U.S.C. 1446(1})(8).
debtor?
MINo | am not filing under Chapter 11.
For a definition of smal ‘
business debtor, see 11 O No. | am filing under Chapter 14, but] am NOT a small business debtor according {fo the definition in the Bankruptcy
ULS.C. § 101(51B). Code
CO] Yes. fam filing under Chapter 14 and | am a small business debtor according to the definition in the Bankruptcy Code.

 

iva Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own orhave any i yo
property that poses or is .
alleged to pose athreat (1 Yes.
of imminent and What is the hazard?

 

identifiable hazard to

public heaith or safety?

Or do you own any. ; a
property :that-needs If immediate attention is
immediate attention? needed, why is it needed?

 

For example, do you own
perishable goods, or

 

 

livestock that must be fed, Where is the property?
or a building that needs
urgent repairs? _
Number, Street, City, State & Zip Code
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 4of 41

 
 

Debtor? Jonathon Bradley Cohen

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The Jaw requires that you
receive a briefing about
credil counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. H you cannot do
so, you are not eligible to
file.

If you file anyway, the cour
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

Official Form 101

Case: 19-10507 Doc#1 Filed: 07/10/19

About Debtor 1:
You must check one:

Oo

| received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, and I received a

certificate of completion.

Attach a copy of the certificate and the payment
pian, if any, that you developed with the agency.

i received a briefing from an approved credit Gg
counseling agency within the 180 days before f

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within #4 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that 1 asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

Hf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only fer cause and is limited fo a maximum of 15

days.

lam not required to receive a briefing about 0
credit counseling because of:

C} Incapacity.
| have a mental illness or a mental deficiency
that makes me incapable of realizing or
making rational decisions about finances.

O sésODisability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

O Active duty.
fam currently on active military duty ina
military combat zone.

if you believe you are not required to receive a

briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

Voluntary Petition for individuals Filing for Bankru
Entered:

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Gase):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, and E received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

| received a briefing from an approved credit
counseling agency within the 180 days before | filed
this bankruptcy petition, but i do not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

I certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
these services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
fited for bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do so, your case may be dismissed.

Any extension of the 30-day deadiine is granted only for
cause and is limited to a maximum of 15 days.

lam not required to receive a briefing about credit
counseling because of:

[J .-incapacity.—
[have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

1 = ‘Disabiiity.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the internet, even after | reasonably tried to
do so.

OL Active duty.
lam currently on active military duly in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file a motion for waiver
of credit counseling with the court.

i 5
O7/10/19 12:06:00 Page5of41

 
Debtor 1 Jonathon Bradley Cohen _ . Case number ( known)

 

cick p Tie eres

Debtor 1 Jonathon Bradley Cohen

First Name Middie Name Last Name

 

Debtor 2 . coe
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

 

Case number
{if known} OO Check if this is an

amended fiting

 

 

 

FORM 101. VOLUNTARY PETITION ATTACHMENT

Request for a 30-day temporary waiver of the requirement to file a certificate of completion
of credit counseling.

 

| certify that | asked for credit counseling services from an approved agency, but was unable to obtain those services during the 7 days after |
made my request, and exigent circumstances merit a 30-day temporary waiver of the requirement.

Explanation of efforts Debtor 1 made to obtain the briefing, why Debtor 1 was unable to obtain it before Debtor 1 filed for bankruptcy, and what
exigent circumstances required Debtor 1 to file this case:

facing eviction

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page &

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 6 of 41

 
Debtor 1

Jonathon Bradiey Cohen

Case number (if known)

 

 

# Answer These Questions for Reporting Purposes

 

Are your debts primarily consumer debts? Consumer debts are defined in 14 U.S.C. § 101(8} as “incurred by an

 

 

 

 

16. What kind of debts do 16a.
you have? individual primarily for a personal, family, or household purpose.”
D1 No. Go fo line 16b.
Ei Yes. Go to line 17.
16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.
C1) No. Go to line 166.
[7 Yes. Go to line 17.
16c. State the type of debts you owe that are not consumer debts or business debts
17. Are you filing under OONo, | amnot filing under Chapter 7. Go to line 18.
Chapter 7?
Do you estimate that Yes | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
after any exempt ” are paid that funds will be available to distribute to unsecured creditors?
property is excluded and
administrative expenses Hi No
are paid that funds will
be available for O1 Yes
distribution to unsecured
creditors?
18. How many Creditors do 449 C 1,000-5,000 C0 25,001-50,000
you estimate thatyou 1 50.99 C1 s004-10,000 [1 50,001-100,000
. Gi 100-199 C3 10,001-25,000 C1 More than100,000
1 200-999
19. How much do you IE $0 - $50,000 EF) $1,000,001 - $19 million FD $50,600,001 - $1 billion

estimate your assets to
be worth?

1 $50,001 - $100,000
C2 $100,001 - $500,000
E1 $500,001 - $1 milion

EJ $10,000,001 - $50 milion
CJ) $50,000,001 - $100 million
[J $100,006,001 - $500 million

C1 $1,000,000,001 - $16 bilion
0 $10,000,000,001 - $50 billion
OJ More than $50 billion

 

20. How much do you
estimate your Habilities

to be?

C1 $0 - $50,000

MA $50,001 - $100,000
(J $160,004 - $500,000
O01 $500,004 - $1 million

D) $1,600,001 - $10 million

LJ $10,000,001 - $50 million
TI $50,000,004 - $100 million
{J $100,000,001 - $500 million

1 $500,000,601 - $1 billion

£) $1,000,000,001 - $10 billion
EJ] $10,000,000,001 - $50 bition
(1 More than $50 billion

 

Fal Sign Below

 

For you

Official Form,101

ase: 19-10507 Doc#i

i have examined this petition, and 1 declare under penalty of perjury that the information provided is true and correct.

If ! have chosen fo file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 43 of title 11,
United States Code. | understand the relief available under each chapter, and I choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to heip me fili out this
document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of file 11, United States Code, specifted in this petition.

f property by fraud in connection with a

| understand making a false staternent, concealing property, or ob: aiming pe iy
o rs, or both, 18 U.S.C. §§ 152, 1341, 1579,

bankruptcy case can result in fines up to $250,000, or imprisonment for,tip

  
  
 
 

 

and 3571. ‘ A .
isi Jonathon Bradley Cohen ee gee
Jonathon Bradley Cohen Signatur etitor 2

Signature of Debtor +

Exétuted on ) “ | U) “ 4

Executed on July 9, 2019
MM? DDT YYYY

MM /DDSYYYY

Voluntary Petition for Individuals Filing for Bankru

te page 6
"O7/LO/19 Entered: 07/10/19 12:06:00 Page 7 of 41

 
Debtor 1 _Jonathon Bradley Cohen Case number (if known)

 

 

For your attorney, if you are |, the attorney for the debtor{s} named in this petition, declare that | have informed the debtor(s) about eligibility to proceed

represented by one under Chapter 7, 11, 12, or 13 of title 14, United States Code, and have explained the relief available under each chapter
for which the persotfis eligible, | also certify that | have detivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)

If you are not represented hy — and, ina caseJh which § 707(b)(4)(D) applies, certify that | have no knowledge affer an inquiry that the information in the

an attorney, youdonot need  sche@iuleg‘l¢d With the petition is incorrect.

to file this page. ‘s —

    
  

 

 

PO Date July 9, 2019
Sian Y Morey for Debtor MM /DDIYYYY

wl Gn allow Cah ery

Printed name

Firm name

 

Number, Street, City, State & ZIP Cade

Centact phone Emai address

 

 

 

Bar number & State

 

 

age 7

 

Official Form 1 Voluntary Petition for individuals Filing for Bankru

0 te’
ase: 19-10507 Doc#1 iled: 07/10/19 Entered: 07/10/19 12:06:00 Page 8 of a

 
Debtor 1 Jonathon Bradley Cohen Case number (if known}

 

For you if you are filing this
bankruptcy without an
attorney

lf you are represented by an
attorney, you do not need to
file this page.

The law allows you, as an individual, to represent yourself in bankruptcy court, but you should understand that many
people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
financial and legal consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or
inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,
pay a fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. lf that happens, you could lose your right to file ancther case,
or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required fo file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may
not be discharged. If you do not list property or properly claim it as exempt, you may not be able fo keep the property. The
judge can also deny you a discharge of all your debts if you da something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or lying. Individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attomey, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptey Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exernption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
11 No
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

C1 No
Wives

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
Mi No
O yes Name of Person
Attach Bankruptcy Petition Preparer’s Nofice, Declaration, and Signature (Official Form 119).

 

‘an attomey. i have read and understood
sause me to lose my rights or property if | do

    
 
 

By signing here, | acknowledge that | understand the risks invélyed in fil

this notice, and | am aware that filing a bankruptcy case without an.attofne
not properiy handle the case. ol
isi Jonathon Bradley Cohen

 

Jonathen Bradiey Cohen ” “Signature” of Debtor 2

 

 

 

 

 

 

Signature of Debtor 1

Date. July .9,.2019.. pate “)~[Q-\ 4
MM /DDIYYYY MM DD /YYYY

Contact phone 7074947652 Contact phone

Cell phone Cell phone

Email address cohendream3@yahoo.com Email address

 

 

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptc page 8

Case: 19-10507 Doc#i1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 9 of 41

 

 
Ripe eee

Debtor 1 Jonathon Bradley Cohen
First Name Midde Name Last Name

 

Bebtor 2
{Spouse if, filing} First Name Middie Name Last Name

 

United States Bankruptcy Court for the:

 

Case number _
{if known) 1 Check if this is an

amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 125

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

Summarize Your Assets

Your assets 00
‘Value of what you own ©:

1. Schedule A/B: Property (Official Form 106A/B}

 

 

 

 

 

 

ta. Copy line 55, Total real estate, from Schedule A/B......csssssseeceeseeressstecsenesseeeeesesteseceeeecstsesetseneneraensenessnnneeatieseey $ a 0.00
1b. Copy line 62, Total personal property, from Schedule AMB........c cee teceene te reneeeseesceenecsneeneraetendasiaensesstanese $ 1,470.00
1c. Copy jine 63, Total of all property on Schedule AUB... cesses sceesecenescsessensssasessensusssensssenensasataeesssenenesneeneseeatenes $ 1,470.00
Summarize Your Liabilities
Your liabilities
Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)}
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the fast page of Part 1 of Schedule D... $ ce 0.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/F.......... eee $ _ 0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule E/F os ec seen $ 51,335.64
Your total liabilities | $ 51,335.64
Summarize Your Income and Expenses
4, Schedule Your income (Official Form 106))
Copy your combined monthly income from line 12 Of Schedule ba... cece tees ccesnseeetetetaneeneneneenenseatnnn tetenicsennee $ 0.000
5. Schedule J: Your Expenses (Official Form 1063)
Copy your monthly expenses from line 22c of Schedule Jou... cence cceererrceseeneeeeeteeneneaseastenseenseeeneneaneny $ 8,110.00

GE0ZMEE Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptey under Chapters 7, 11, or 13?
C1 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

mM Yes
7. What kind of debt do you have?

Ww Your debts are primarily consumer debts. Consumer debis are those "incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill oul lines 8-9g for statistical purposes. 28 U.S.C. § 159.

0 $#Your debts are not primarily consumer debts. You have nothing to report on this part of the form, Check this box and submit this form to
the court with your other schedules.

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 10 of 41

 
Debtor? Jonathon Bradley Cohen Case number (if known)

 

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official Form

 

 

 

122A-1 Line 11; OR, Form 122B Line 14; OR, Form 122C-1 Line 14. $e 0.00
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

- CO _ - Total claim

. From Part 4 on Schedule E/F, copy the following: .-* : - :

3a, Domestic support obligations (Copy line Ga.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ __ 0.00,

9d. Student loans. (Copy line 6f.) $ 0.00

9e. Obligations arising out of a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) $ 0.00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + 0.00

9g. Total. Add lines 9a through 9f.

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 11 of 41
ee ae

       
  

Debtor 4 Jonathon Bradley Cohen
First Name Middle Neme Last Name

 

   
 

Debtor 2 _ .
{Spouse, # filing) First Name Middle Name Last Name

 

   
  
 
   
 

 

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 

 

Case number [L] Check if this is an

amended filing

 

 

Official Form 106A/B

 

Schedule A/B: Property 12115

 

In each category, separately fist and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. !f more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an interest In

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

EM No. Go to Part 2.
Ld Yes. Where is the property?

Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives. If you lease a vehicle, also report il on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tracters, sport utility vehicles, motorcycles

BM No
Ct Yes

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycie accessories

BINo
Li Yes

§ Add ‘the doliar value of the portion you own for all of your-entries.from Part 2, including any entries-for
pages you have attached for Part 2. Write that number here . eee

 

 

Describe Your Personal and Household Items

Do you own or have any legal or equitable interest in any of the following items? Current value of the

, ° portion you own?
Do not deduct secured
claims or exemptions.

 

6. Household goods and furnishings
Examples: Major appliances, furniture, finens, china, kitchenware

CI No
Mi Yes. Describe...

 

 

 

 

 

 

 

[Stove ; $200.00

| Refridgerator | $200.00
Official Form 106A/B Schedule A/B: Property page 1
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 12 of 41

 
Debtor 1 Jonathon Bradley Cohen : . Case number (ifknown)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[washer/dryer | $300.00.
[Microwave _ $40.00
| Cooking Utensils | ee $10.00
[ Silverware : | $10.00
| Pots and pans “| _ $10.00
[living room furniture _ $250.00

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including ceil phones, cameras, media players, games

LJ No
@ Yes. Describe.....

 

| Television | $400.00

 

 

 

| bedroom furniture | $150.00

 

 

8. Collectibles of value
Examples; Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

Ho
Ci Yes, Describe.....

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool fables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

Bno
CO Yes. Describe.....

10. Firearms
Exampies: Pistols, rifles, shotguns, ammunition, and related equipment

MNo
(7 Yes. Describe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

Oi No
MB Yes. Describe...

 

| Misc... Clothing | . $200.00

 

42. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver

MNo
OO Yes. Describe.....

13. Non-farm animals
Examples: Dogs, cats, birds, horses

BNo
Official Form 106A/B Schedule A/B: Property page 2
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 13 of 41

 

 
Debtor 1 Jonathon Bradley Cohen Case number (#fknownp

 

CJ Yes. Describe.....

44. Any other personal and household items you did not already list, including any health aids you did not list
i No

(] Yes. Give specific information...

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3, Write that number here . . . sesatsaesgeceaeeasere $1,470.00

 

 

 

 

  

art! a Describe Your Financial Assets
‘Do you own or have any legal or equitable interest in any of the following? Current vatue of the
, portion you own?
Do not deduct secured
claims or exemplions.

 

16, Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

HI No
CD Yes. ee iceccscceeessssteccensssscsesesecesecseseceneaesesssesssegaeceerssaenenengesnseesseneenesesee

17. Deposits of money :
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have multiple accounts with the same institution, list each.

Bi No

CT Yes. cece Institution name:

48. Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

HNo

es Institution or issuer name:

19. Non-publiciy traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

BM No

Cl Yes. Give specific information about them.......--...00
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders,
Non-negotiable instruments are those you cannot iransfer to someone by signing or delivering them.

ENo
UJ Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Exampies: interests in IRA, ERISA, Keogh, 401(k}, 403(b), thrift savings accounts, or other pension or profit-sharing plans

Mi No

E Yes. List each account separately.
Type of account: Institution name:

22, Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

Mi No

LI Yes. cececcsccccrerereeee _ Institution mame or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years}

M No

1 VeS.ecccce Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition pregram.
26 U.S.C. §§ 530(b)(t), 529A(b), and 629(b)(1}.

BE No
Offical Form 106A/B Schedule A/B: Property page 3
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 14 of 41

 
Debtor i Jonathon Bradley Cohen Case number (if known)

 

OU Yes............. Institution name and description. Separately file the records of any interests.11 U.S.C, § 52 1{c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
Hi No

C] Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: internet domain names, websites, proceeds from royalties and licensing agreements

No

(4 Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

BiNo
0 Yes. Give specific information about them...

Money or property owed to you? : Current value of the
: portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
Mi No

01 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due er lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

HNo

C1 Yes. Give specific information......

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits; unpaid loans you made to someone else

MNo

0 Yes. Give specific information..

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance

BiNo

] Yes. Name the insurance company of each policy and list Its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or ave currently entitled fo receive property because
someone has died.

Bio
C1 Yes. Give specific information.

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

BNo
FA Yes. Describe each claim.........

34, Other contingent and unliquidated ctaims of every nature, including counterclaims of the debtor and rights to set off claims
MNo

OO Yes. Describe each ciaim.........

35. Any financial assets you did not already list
BNo

CO Yes, Give specific information..

Official Form 106A/B Schedule A/B: Property page 4
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 15 of 41

 
Debtor 1 Jonathon Bradley Cohen Case number (if known)

 

36, Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
for Part 4. Write that number here... us : : : : . $0.00

 

 

Feit Describe Any Business-Related Property You Own or Have an interest In. List any real estate in Part 4.

 

37. Do you own or have any legal or equitable interest in any business-related property?
Hl io. Go to Part 6.

OO Yes. Go toline 38.

  

a Pa Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
wa If you own of have an interest in farmland, fist it in Part 1.

 

46, Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
i No. Goto Part 7.
C1 Yes. Go to line 47.

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

Eno

0 Yes. Give specific information.........

 

 

 

 

 

 

 

54. Add the dollar value of all of your entries from Part 7. Write that number Here .........ssscesssessensseenesees $0.60
List the Totals of Each Part of this Form

55. Part 4: Total rea! estate, line 2 .......... ve . . . $0.00

56. Part 2: Total vehicles, line 5 . ~$0.00

57. Part 3: Total personal and household items, line 15 _ $1,470.00

58. Part 4: Total financial assets, line 36 _ $0.00

59. Part 5: Total business-related property, line 45 . $0.00

60. Part 6: Total farm- and fishing-related property, fine 52 _ $0.00

61. Part 7: Total other property not listed, line 54 + ; $0.06

62, Total personal property. Add lines 56 through 61... $1,470.00 Copy personal property total $1,470.00

63. Totat of all property on Schedule A/B. Add line 55 + line 62 $1,470.00
Official Form 106A/B Schedule A/B: Property page 5
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 16 of 41

 
Sane

 

Debtor 4 Jonathon Bradiey Cohen

“First Name Middle Name Last Name

 

Debtor 2
{Spouse if, filing) First Name Middla Name Las! Name

 

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 

 

Case number
(if known} OO Check if this is an

amended filing

 

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 4g

 

Be as complete and accurate as possible. Hf two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you ciaim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item-of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be untimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

identify the Property You Claim as Exempt
1. Which set of exemptions are you claiming? Check one only, even if your spouse fs filing with you,
Wi You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3}
£ You are claiming federal exemptions. 11 U.S.C. § 522{b){2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/S that lists this property portion you own

Copy the value from Check only one box for each exempiion,

Schedule A/B

Line from Schedule A/B: 6.1

 

O 100% of fair market value, up to
any applicable statutory limit

 

Refridgerator $200.60 a $200.00 C.C.P. § 703.1 40(b}(3)
Line from Schedule A/B: 6.2. SEI naan i
E] 400% of fair market value, up to
any applicable statutory fimit

 

washer! dryer $300.00 a $0.00 C.C.P. § 703.140(b)(3}
Line from Schedule A/B: 6.3 —_-—___

 

OO 100% of fair market value, up te
any applicable statutory limit

 

Microwave $40.00 $40.00 ©.C.P. § 703.140(b)(3)
Line from Schedule A/S: 6.4 —— ee

OC 100% of fair market value, up fo
any applicable statutory limit

Cooking Utensils $10.00 wy $10.00 C.C.P. § 703.140(b)(3)
Line from Schedule A/B: 6.5 Sa —_?.J—MT!_|1JWJH—
CF 400% of fair market value, up to
any applicable statutory limit

 

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of 2
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 17 of 41

 
Debtos 1 Jonathon Bradley Cohen Case number (if known}

 

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption

Schedule A/B8 that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule AB
Silverware $10.00 Bi $10.00 ©-C-P. § 703.140(b}(3)

Line from Schedule A/8: 6.6

 

LE] 400% of fair market vatue, up to
any applicable statutory limit

 

Pots and pans $10.00 i $1 0.00 C.c.P. § 703.140(b){3)
Line from Schedule A/B: 6.7 Se
C] 400% of fair market value, up te
any applicable statutory limit

 

living room furniture $250.00 Bg $250.00 C.C.P. § 703,440(b}(3}
Line from Schedule A/B: 6.8 Se
1 100% of fair market value, up to
any applicable statutory timit

 

Television $100.00 a $100.00 c.c.P. § 703.140(b)(3}
Line from Schedule A/B: 7.1 Sl >
. O 100% of fair market value, up to

any applicable statutory limit

 

bedroom furniture $150.00 $150.00 C.C.P. § 703.140{b}(3)
Line from Schedule A/B: 7.2 — a

11 100% of fair market value, up to
any applicable statutory limit

 

Misc... Clothing $200.00 Hf $200.00 C.C.P. § 703.140(b}(3)
Line from Schedule 4/8: 11.1 ——____. ss
LC 100% of fair market value, up to

any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

 

M No
Ol Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
O No
(7 Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 18 of 41

 
PANDA UI MU cue UCU ea a a cee

Debtor 1 Jonathon Bradley Cohen

First Name Middle Name Last Name

 

Debtor 2 .
{Spouse é, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: = CENTRAL DISTRICT OF CALIFORNIA

 

Case number _
(if known} O Check if this is an
amended filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 1215

 

Be as complete and accurate-as possible. If two married people are filing together, both are equally responsibie for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number {if known).

1. Do any creditors have claims secured by your property?

Hi No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
CI Yes. Fill in all of the information below.

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 19 of 41

 
Fill in this information to identify your case:

 

Debtor 1 Jonathon Bradiey Cohen
FirstName Middle Name Lasi Name

Debtor 2
{Spouse if, filing) First Name

 

Middle Name Last Name

United States Bankruptcy Court for the: = CENTRAL DISTRICT OF CALIFORNIA

 

Case number
(if known} Of Check if this is an

amended filing

 

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 42/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory. contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), De not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
hame and case number (if known).

List All of Your PRIORITY Unsecured Claims

1. De any creditors have priority unsecured claims against you?

 

Ef No. Go to Part 2,

O yes.
List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

 

FE] No, You have nothing to report in this part. Submit this form to the court with your other schedules.
i ves.

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
than one creditor halds 4 particular claim, fist the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of

 

 

 

 

 

Part 2. .
Total claim
Allen Henderson & Kimberly
44 Succetti Last 4 digits of account number $13,500.00
Nonpriority Creditors Name
PO Box 751082 When was the debt incurred?
Petaluma, CA 94975
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Whe incurred the debt? Check one.
a Debtor # only Oo Contingent
[4 Debtor 2 only Oo Uniiquidated
. [1 Debtor 4 and Debtor 2 only Oo Disputed
CF Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] check if this claim is fora community C1 student toans
debt (J Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino (] Debts te pension ar profit-sharing plans, and other similar debts
CO ves Mf other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 3
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 20 of 41

 
Debior1 Jonathon Bradley Cohen _ Case number (# known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[42 Charle T. Jensen ESQ. Last 4 digits of accountnumber 2594 _ $1,442.26
Nonpriority Greditor’s Name
1622 Fourth Street When was the debt incurred? 2019
Santa Rosa, CA 95404
Number Street City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Gheck one,
BE pebtor 1 only C1 contingent
C] bebter 2 only C Unliquidated
C Debior 4 and Debtor 2 only Oo Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community [7 Student leans
debt EJ Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no CJ Dexts to pension or profit-sharing plans, and other similar debts
C1 ves BB oter. Specify _
4.3 | County of Sonoma Last 4 digits of account number 0397 __ $6,150.00
Nonpriority Creditors Name
2550 Ventura Avenue When was the debt incurred? 2019
Santa Rosa, CA 95403
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
HI debtor 1 only | Contingent
EJ Debtor 2 ony O Unliquidated
CJ Debtor 1 and Debtor 2 only Ci cisputed
CU At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community [J Student loans
debt O Obligations arising out of a separation agreement or divorce that you did net
Is the claim subject to offset? report as priority claims
Mino O nebts to pension or profit-shacing plans, and other similar debts
C1 Yes MH other. Specify
44] PG&E Last 4 digits of account number 9428 $29,170.00
Nonpriority Creditors Name
111 Stony Circle When was the debt incurred? 2002
Santa Rosa, CA 95401
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
“#8 Debtor 1 only O Contingent
C1 Debtor 2 only Gi unliquidated
CJ Debtor 1 and Debtor 2 only oO Disputed
C1 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 check if this claim is fora community C1 Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino LC debts to pension or profit-sharing plans, and other similar debts
C] yes MI other. Specify
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 3
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 21 of 41

 
Debtor? Jonathon Bradley Cohen

Case number (if known}

 

45 weeks Drilling & Pump
Nonpriority Creditor's Name
PO Box 176
Sebastopol, CA 95473
Number Street City State Zip Code

Who incurred the debt? Check one.

 

 

EE pebtor 4 only

C1 Debtor 2 only

C] Debtor 1 and Debtor 2 only

(3 Atiecast one of the debtors and another

E] Check if this claim is for a_ community
debt

Is the claim subject to offset?

a No
D ves

Last 4 digits of account number

When was the debt incurred? 2017

 

As of the date you file, the claim is: Check all that apply

C1 contingent
C1 unliquidated

Oo Disputed
Type of NONPRIORITY unsecured claim:

EJ Student oans

oO Obligations arising out of a separation agreement or divorce that you did not

report as priordy claims

CJ Debts to pension or profit-sharing plans, and other similar debts

i other. Specity

 

$1,073.38

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others te be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then fist the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 4 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

GEA Add the Amounts for Each Type of Unsecured Claim

 

6. Total the amounts of certain types of unsecured ciaims. This information is for statistical reporting purposes only. 28 U.S.C. §759. Add the amounts for each

type of unsecured claim.

 

 

Total Claim
6a. Domestic support obligations 6a. $ 6.00
Total
claims
from Part 7 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
6c. Claims for death of personal injury while you were intoxicated 6c, $ 0.00
6d. Other. Add alf other priozity unsecured claims, Write that amount here. 6d. $ 0.00.
6e. Total Priority. Add lines Ga through 6d. 6e. E 0.00 |
Total Claim
6f, Student ioans 6F $ 6.00
Total -
claims
from Part 2 69. Obligations arising out of a separation agreement or divorce that 0.00
you did not report as priority claims &g. SU -
6h. Debts to pension or profit-sharing plans, and other similar debts 6h, $ 0.00
6. Gther. Add all other nonpriority unsecured claims. Write that areount 6i. ~ f£
here s 51,335.64
6} = Tetal Nonpriority. Add lines 6f through Bi. 6). $ 51,335.64

Official Form 106 E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Page 3 of 3
Best Case Bankrupicy

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 22 of 41

 
Fill in this information to identify your case:

Debtor 1 Jonathon Bradley Cohen

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing} First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: = CENTRAL DISTRICT OF CALIFORNIA

 

Case number
{if known} fi Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12115

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
Ki No. Check this box and file this form with the court with your other schedules. You have nothing efse to report on this form.
CO Yes. Fill in all of the information betow even if the contacts of leases are listed on. Schedule A/B:Property (Official Form 106 AVB}.

2, List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone), See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Person or company with whom you have the contract or lease State what the contract or lease is for
Name, Number, Street, City, State and ZIP Code : - .
2.1
Name
Number Street
Gily State ZIP Code
22
Name
Number Street
City State ZIP Code
2.3
Name
Number Street
City State ZIP Code
24
Name
Number Street °
City State ZIP Code
2.5
Name
Number Street ~
Gity State ZiP Code _
Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 23 of 41

 
ce

    
      
  

Debtor 1 Jonathon Bradley Cohen
“First Name Middie Name Last Name

 

     

Debtor 2
{Spouse if, filing) First Name Middle Name Last Name

 

     
     
 
  
 

United Stales Bankrupicy Court forthe: = CENTRAL DISTRICT OF CALIFORNIA

 

  

Case number
{if known)

 

O1 Check if this is an
amended filing

 

Official Form 106H
Schedule H: Your Codebtors 12115

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
peopie are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill if out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

14. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

HENo
O Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Wi No. Go to line 3.
0 Yes. Did your spouse, former spouse, or legal equivalent five with you at the time?

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D {Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G), Use Schedule D, Schedule E/F, or Schedule G to fill
out Column 2.

 

 

 

 

 

 

 

 

Column 1: Your codebtor Cofumn 2: The creditor to whom you owe the debt
Name, Number, Street, City, State and ZIP Gade Check ail schedules that apply:
[3.1 - (1 Schedule D, line
Name C Schedule E/F, tine
Gi Schedule G, line
Number Street
city State ZiP Code
13.2 | C1 Schedule B, line __
Name 1 Schedule EF, line
1 Schedule G, fine —
Number Street
City State ZIP Code
Official Form 108H Schedule H: Your Codebtors Page 1 of 1
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 24 of 41
SRG RR Re nm cetera

Debtor 4 Jonathon Bradley Cohen

 

Debtor 2
(Spouse, # filing)

 

United States Bankruptcy Court for the: CENTRAL DISTRICT OF CALIFORNIA

 

Case number Check if this is:
(If known) D An amended filing

EJ Asupplement showing postpetilion chapter
43 income as of the following date:

Official Form 106! MDD
Schedule |: Your Income 12/45

 

 

 

 

Be as complete and accurate as possible, If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known}. Answer every question.

EZREHEE Describe Employment

1. Fill in your employment eR ane UE ne ee a ae
information. ‘Debtor te oe Debtor 2 or non-filing spouse

 

If you have more than one job, Empl t stat 0 Emptoyed C1 Employed
attach a separate page with mployment status

information about additional Mf Not employed Ci Not employed
employers. Occupation

 

include part-time, seasonal, or

self-employed werk. Employer's name

 

Occupation may include student Employer's address

or homemaker, if it applies.

How long employed there?

GEESE Give Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you ave separated.

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

For Debtor.1~>- /Foer Debtor. 2 or.”
weer 2 non-filing spouse

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

 

 

 

 

2. deductions). If not paid monthly, catculate what the monthly wage would be. 2 $ 0.00 § NIA
3. Estimate and list monthly overtime pay. 3. +h 0.00 +$ NIA
4, Calculate gross Income. Add line 2 + line 3. 4.14 0.00 $ N/A
Official Farm 1061 Schedule |: Your Income page 1

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 25 of 41

 

 
Deblor1 Jonathon Bradley Cohen ; Case number (if known)

Copy tine 4 here stnnivinivtenninnanne 4 § so NIA
5, List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions Sa. $F 0.00 $ N/A
5b, Mandatory contributions for retirement plans Sb. § 0.00 $ N/A
5c. Voluntary contributions for retirement plans 5c.  §$ 0.00 $ NIA
5d. Required repayments of retirement fund loans 5d.  § 0.00 $ NIA
5e. Insurance Se. 5 0.00 § NIA
5f. Domestic support obligations A 0.00 $ NIA
5g. Union dues 5g. § 0.00 «§$ NIA
5h. Other deductions. Specify: Sht+ $ 0.00 + 3% N/A.
G. Add the payroll deductions. Add fines 5a+5b+-5c+5d+5e+5f+5g+5h. 6. $ 0.00 8 6§ NIA
Gaiculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 0.00 $3 NIA
8. List all other income reqularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a stalement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthiy net income. 8a. §$ 0.00 $ NIA
8b. Interest and dividends 8b. §$ 0.00 § NIA
8c. Family support payments that you, a non-filing spouse, or a dependent
regulariy receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. ce. 3 0.00 ¢ NIA
8d. Unemployment compensation 8d. §$ 0.00 $ NIA
8e. Social Security 8e.  § 0.060 6 §$ NIA
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: Bf. 86 0.00 © 6§ NIA
8g. Pension or retirement income 8g. § 0.00 § N/A
8h. Other monthly income. Specify: Sh.t § 0.00 +3 NIA
9. Add all otherincome. Add fines 8at+8b+8c+8d+8e+8f+8g+sh. 9 iF 0.00/ |$ NIA
10. Calculate monthly income. Add line 7 + fine 9. 10.5 0.00) +5 N/A| =| $ 0.00
Add the entries in fine 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions.to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 of amounts that are not available to pay expenses listed In Schedule J.
Specify: 11. +$ 6.00
12. Add the amount in the last column of line 10 to the amount in line 11. The resutt is the combined monthly incame.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it $ 0.00
applies iil
Combined —_
monthly income
13. Do you expect an increase or decrease within the year after you file this form?
a No.
oO Yes. Explain: |
Official Form +081 Schedule |: Your Income page 2

 

:For Debtor 7...»

For Debtor 2 or.
non-filing spouse -.

 

 

0.00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 26 of 41

 

 
PAT PN CEC ein he aM ell Recct-ceeemnes

 

 

Debtor 1 Jonathon Bradley Cohen Check if this is:

( #An amended filing
Debtor 2 _— 1 =A supplement showing posipetition chapter
(Spouse, if filing) 43 expenses as of the following date:
United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA MM /DDIYYYY,

 

Case number
(if known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 125

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household
1. Is this ajoint case?

Hf No. Go to line 2.
Cl Yes. Does Debtor 2 live in a separate household?

ONo
U1 Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Bo you have dependents? ME No

Do not list Debtor 1 and Cl Yes, _ Fill out this information for Dependents relationship to Dependent’s Does dependent
Debtor 2. each dependent.............. Debtor 1 or Debtor 2 age live with you?
Do not state the OO No
dependents names. 0 Yes

      

 

 

 

 

3. Do your expenses include EI No
expenses of people other than oO
yourself and your dependents? Yes

EERE Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule ; Your Income
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage

payments and any rent for the ground or fot. 4.4% 4,500.00
If not included in Hine 4:
4a. Real estate faxes 4a. $ _ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. $ 0.00
4c. Home maintenance, repair, and upkeep expenses 4c. § 0.00
4d. Homeowner's association or condominium dues 4d. $ _ 0.00

5. Additional mortgage payments for your residence, such as home equity foans 5. $ 0.00

Official Form 106. Schedule J: Your Expenses page 1

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 27 of 41

 
Debtor1 Jonathon Bradley Cohen

6.

16.

V7.

18.

19.

20.

21.

22.

23.

24.

Official Form #06J

Utilities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage colfection

6d. Other. Specify: Xfinity

Case number (if known}

 

Food and housekeeping supplies
Childcare and children’s education costs
Clothing, laundry, and dry cleaning
Personal care products and services
Medical and dental expenses

Do not include car payments.

Insurance.

15a. Life insurance

15b. Health insurance

15c. Vehicle insurance

45d. Other insurance. Specify:

 

Specify:

 

Installment or fease payments:
17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c. Other, Specify:

 

17d. Other. Specify:

 

Specify:

 

20a. Morigages on other properly
20b. Real estate faxes

Other: Specify:

 

Caiculate your monthly expenses
22a. Add lines 4 through 21.

Calculate your monthly net income.

 

 

 

 

6a, $ 1,000.00
6b. $ 0.00
6c. Telephone, celt phone, Internet, satellite, and cable services 6b. $ | 25.00
6. S$  —<Cs*si‘s*~*=‘« 8
7 $ 400.00.
8. 3 0.00
i 10.00
10. $ 6.00
1. 0.00
Transportation. Include gas, maintenance, bus or train fare. 42. $ 40.00
Entertainment, clubs, recreation, newspapers, magazines, and books i ee 0.60
Charitable contributions and religious donations 14. $ 0.00
Do not include insurance deducted from your pay or inckuded in lines 4 or 20.
15a. $ . 0,00
15b. § 0.00
15c. § __ 9.00
15d. $ 0.00
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. a
16. $ 0,00.
17a. §$ 0.00
17b. § . 0.00
We $B 0.06
17d. § 0.00
Your payments of alimony, maintenance, and support that you did not report as —
deducted from your pay on line 5, Schedule J, Your Income (Official Form 106l). 18 S$ 0.00
Other payments you make to support others who do not live with you. $ 0.00
19.
Other real property expenses not included in lines 4 or 5 of this form or on Schedule {: Your income.
20a, $ __0.00
20b. $ 0.06
20c. Property, homeowner's, or renter’s insurance 20c. $ — 0.00
20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00
20e. Homeowner's association or condominium dues 20e. $ 0.00
21. +$ = 0.00
$ 6,110.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $ ~
22c, Add line 22a and 22b. The result ts your monthly expenses. $ . 6,110.00...
23a. Copy line 12 (your combined monthly income) fromm Schedule |. 23a, $ 6.00
23b. Copy your monthly expenses from line 22c above. 23b, -$ 6,110.00_
23c. Subtract your monthly expenses from your monthly income. 236. ($ 6,110.00

The result is your monthly net income.

 

 

 

Bo you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification to the erms of your mortgage?

Mi No.

 

Fl ves. | Explain here:

 

Schedule J: Your Expenses

page 2

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 28 of 41

 
PR ORR RCCL Lt ac Tae eee

Debtor 1 Jonathon Bradley Cohen
First Name Middie Name Last Name

 

Debtor 2 =
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

 

Case number
tif known) () Check if this is an

amended filing

 

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 4245

If two.married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

ma Sign Below

Did you pay or agree to pay someone who is NOT an attorney te help you fill out bankruptcy forms?

 

gm No

O ‘Yes. Name of person Attach Bankruptcy Petition Preparers Notice,
Declaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that | have read the summary and schedules filed’ with 4 is deciaration and
that they are true and correct. “on aa bow

     
 

 

 

X js! Jonathon Bradley Cohen x os aes
Jonathon Bradley Cohen Sianeturgt Debtor 2
Signature of Debtor +

Date July-9, 2019-- pte f/f “16 7 \ a

— £ t ¥

 

Official Form 106Dec Declaration About an Individual Debtor's Schedules

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 29 of 41

 
Fill in this information to identify your case: ae

      
      

Debtor 1 Jonathon Bradley Cohen

First Name Middte Name Last Name

 

  
      
    
 
 
   
 

 

Debtor 2
(Spouse if, fling) First Name Middie Name Last Name

 

 

United States Bankruptcy Court forthe: CENTRAL DISTRICT OF CALIFORNIA

   

 

  

Case number
{if known)

 

1 Check if this is an
amended filing

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4fig

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet fo this form. On the top of any additional pages, write your name and case
number (if Known}. Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?

C1 Married
HE Not married

2. During the fast 3 years, have you lived anywhere other than where you live now?

HM No
Ef Yes. List all of the places you lived in the last 3 years. Do not include where yau live now.
Debtor 1 Prior Address: Dates Debtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the fast 8 years, did you ever live with a spouse or jegal equivalent in a community property state or territory? (Community property
states and temories include Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

M@ No
[C} Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Gee xolain the Sources of Your Income

 

4, Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debfor 1.

 

 

M No
Os Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income Sources of Income Gross income
Check all that apply. {before deductions and Check ail that apply. (before deductions
exclusions) and exclusions)
|
|
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 30 of 41
Debtor1 Jonathon Bradley Cohen —— Case number (ifinown)

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends; money collected from iawsuits; royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

E No
(Yes. Fill in the details.
Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe below. each source Describe below. (before deductions
a (before deductions and and exclusions)
exclusions)

GEESE List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor f's or Debtor 2’s debts primarily consumer debts?

(4 No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individuat primarily for a personal, family, or household purpose.”

During ihe 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
LE] No. Goto line 7.

OF Yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

M Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Mino. Gotoline7.

T Yes List below each creditor to whom you paid a totat of $600 or more and the total amount you paid that crediter. Do not

include payments for domestic support obligations, such as child support and alimony. Aiso, do not include payments to an
attorney for this bankruptcy case.

Craditor's Name and Address Dates of payment Total amount Amountyou Was this payment for ...
. paid still owe

7. Within 1 year before you fited for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner, corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

. alimony.
M No
C] Yes. List all payments fo an insider.
Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid sill owe
8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
insider?
include payments on debts guaranteed or cosigned by an insider.
@ No
[L] Yes. List ail payments io an insider
Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
paid stillowe — inciude credifors name
Official Form 707 Statement of Financiai Affairs for Individuals Filing for Bankruptcy page 2

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 31 of 41

 
Debtor? Jonathon Bradley Cohen Case number (known)

 

 

8 Identify Legal Actions, Repossessions, and Foreclosures

9. Within 7 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, smalf claims actions, divorces, collection suits, paternity actions, support or cusiody

modifications, and contract disputes.
EH No
O Yes. Fili in the details.

Case title Nature of the case Court or agency Status of the case
Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, forectosed, garnished, attached, seized, or levied?
Check ail that apply and fill in the details below.

Hl No. Go to line 11.
[] Yes. Fill in the information below.
Creditor Name and Address Describe the Property Date Value of the
property
Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

RM No

D1 sYes. Fill in the details.

Creditor Name and Address Describe the action the creditor took Date action was Amount
taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?

M No
s¥es

GEREH List Certain Gifts and Contributions

43. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
M@ No

OO sYes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave
per person the gifts

Value

Person to Whom You Gave the Gift and
Address:

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
M@ No

0) Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities that total Describe what you contributed Dates you Value
more than $600 contributed -

Charity's Name

Address (Number, Street, Clty, State and ZIP Code}

List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?
M No
C1 Yes. Fil in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred Include the amount that insurance has paid. List pending loss lost
insurance claims on line 33 of Schedule A/B: Property.

Official Form 407 Statement of Financia! Affairs for Individuals Filing for Bankruptcy page 3

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 32 of 41

 
Debtor 1 Jonathon Bradley Cohen Case number tif known}

A List Certain Payments or Transfers

 

16. Within 4 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy pelition preparers, or credit counseling agencies for services required in your bankruptcy.

Bo No

O Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of
Address uo transferred or transfer was payment
Email or website address made

Person Who Made the Payment, if Not You

47. Within 1 year before you filed for bankruptcy, did you or anyone else acting-on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
De not include any payment or transfer that you fisted on fine 16.

No

O Yes. Fill in the detaits.

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment

made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Inctude both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property}. Do not
include gifts and transfers that you have already listed on this statement.

HE No

O ‘Yes. Fill in the details.

Person Who Received Transfer Description and value of Describe any property or Date transfer was
Address | property transferred payments received or debts made

/ paid in exchange
Person's relationship to you

49. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

Mi No
C1 Yes. Fill in the details.
Name of trust Description and value of the property transferred Date Transfer was

made
List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1-year before'you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

Mi No
Yes. Fill in the details.

Name of Financiat Institution and Last 4 digits of Type of account or Date account was Last balance
Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or
Code} so moved, or. . , transfer

transferred

21, Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

HM Ne
Os Yes. Fiti in the details.
Name of Financial Institution / Who else had access to it? Describe the contents Bo you still
Address (Number, Street, City, State and ZIP Code} Address (Number, Street, City, have it?
, State and ZIP Code)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4
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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 33 of 41

 
Debtor1 Jonathon Bradley Cohen Case number (if known}

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

EI No

O Yes. Fill in the details.

Name of Storage Facility Who else has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) to it? have it?

Address (Number, Street, City,
State and ZIP Code}

 

& Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

@ No

O Yes. Fill in the details.
Owner's Name Where is the property? Describe the property Value
Address (Number, Street, City, State and ZIP Code} (Number, Street, City, State and ZIP

Code}
iZHettiee Give Details About Environmental Information

For the purpose of Part 16, the following definitions apply:

Bi oEnvironmental faw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
toxic substances, wastes, or material into the air, jand, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24, Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

M No
OsYes. Fill in the details.

Name of site , Governmental unit Environmental law, if you Date of notice
Address (Number, Street, City, State and ZiP Code) Address (Number, Street, City, State and know it

ZIP Code}

25. Have you notified any governmental unit of any release of hazardous material?

H No
Cl sYes. Fill in the details.

Name of site Governmental unit Environmentat law, if you Date of notice
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, State and know it

ZIP Code}

26. Have you heen a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

@ No

1 Yes. Fill in the details.

Case Title Court or agency Nature of the case Status of the
Case Number Name case

Address (Number, Street, City,
State and ZIP Code) :

Euan Give Details About Your Business or Connections to Any Business
27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
(] A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

0 A member of a limited liability company (LLC) or limited liabitity partnership (LLP)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 34 of 41

 
Debtor1 Jonathon Bradiey Cohen . Case number (if known)

OA partner in a partnership

(1 An officer, director, or managing executive of a corporation

EL] An owner of at teast 5% of the voting or equity securities of a corporation
Ei No. None of the above applies. Go to Part 12.

Yes. Check all that apply above and fill in the details below for each business.

Business Name Describe the nature of the business Employer Identification number

Address : Do not include Social Security number or ITIN.
(Number, Street, City, State and ZIP Code} Name of accountant or bookkeeper :

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

He No
Yes. Fill in the details below.

Name Date Issued
Address
(Number, Street, City, State and ZIP Code}

les Sign Below

t have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers

are true and correct. Eunderstand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or impris ent for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571. “et

        

 

 

    
  

is/ Jonathon Bradley Cohen mal

Jonathon Bradley Cohen Stanaiyte Debtor 2
Signature of Debtor 1

Date July 9, 2019 Date t AO ~| A

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form 107)?
MNo

CO Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
MNo
[J Yes. Name of Person . Alfach the Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 35 of 41

 
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.

§ 101(8) as “incurred by an individual
primarily for a personal, family, or

household purpose.”

Chapter 7: Liquidation

 

 

 

 

The types of bankruptcy that are available to
individuals

Individuals whe meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment pian
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

Notice Required by 11 U.S.C, § 342(b) for Individuals Filing for Bankruptcy (Form 2010}

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$245 filing fee
$75 administrative fee
+ $15 trustee surcharge

$335 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their nonexempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
relieves you after bankruptcy from having to pay
many of your pre-bankruptcy debts, Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Cade, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts are not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

mest student loans;

domestic support and property settlement
obligations;

page 1

Best Case Bankruptcy

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 36 of 41

 
most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required tc pay debts arising from:
fraud or theft:

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from alcohol or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapier 7 Statement of Your Current
Monthly Income (Official Form 122A—1} if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

lf your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2}.

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 1224-2). The calculations on
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

Notice Required by 11 U.S.C. § 342({b} for Individuals Filing for Bankruptcy (Form 2010}

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U_S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under ancther chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of the property. The
property, and the proceeds from-property that your
bankruptcy trustee sells or liquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are not automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $550 administrative fee
$1,717 total fee

 

Chapter 11 is often used for recrganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

page 2

Best Gase Bankruptcy

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 37 of 41

 
PST Ha aye aaa ae

 

Because bankruptcy can have serious iong-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following all of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend fo file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned-if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,006, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $75 administrative fee
$275 total fee

 

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $75 administrative fee
$310 total fee

 

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 43 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy {Form 2010)

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,.

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

page 3

Best Case Bankrupicy

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 38 of 41

 
 

- Warning: File Your. Forms on Time.
Section 521(a a)(1). of the Bankruptcy. Code requires t s that
you promptly file detailed information, about: your»:

creditors, assets, ‘liabilities, -income,. “expenses and :
general fi nancial. condition. The court may dismiss y your:

the. deadlines set by the Bankruptcy: Code, the:
Bankruptey. Rules, and the. local, rules of, the court, oo

  
 
 

 

For more information about the. documents and
their deadlines, go to: os. a
hito:/Awww.uscoults. gowkforme/bankrupoy form .

s.himi#procedure, ce BS

 

 

 

 

bankruptcy case if you:do.not-file this information win

 

 

Bankruptcy crimes have serious consequences

if you knowingly and fraudulently conceal assets
or make a false cath or statement under penalty
of perjury—either orally or in writing—in
connection with a bankruptcy case, you may be
fined, imprisoned, or both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the US.
Department of Justice.

Make sure the court has your mailing address

The bankruptcy court sends notices to the mailing
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure
that you receive information about your case,
Bankruptcy Rute 4002 requires that you notify the court
of any changes in your address.

Notice Required by 44 U.S.C. § 342{(b} for Individuals Filing for Bankruptey (Form 2010)

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generaily will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109¢h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you fite your bankruptcy petition, This
briefing is usually conducted by telephone or on the
Internet.

In addition, after filing a bankruptcy case, you generally
must complete a financial management instructional!
course before you can receive a discharge. If you are
filing a joint case, both spouses must compiete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:
http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html

in Alabama and North Carolina, go to:
htto:/Awww.uscouris.gov/FederalCourts/Bankruptey/
BankruptcyResources/ApprovedCredit

AndDebtCcunselors. aspx.

 

 

If you do net have access to a computer, the clerk of
the bankruptcy court may be able to help you obtain
the list.

page 4

Best Case Bankruptcy

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 39 of 41

 
STATEMENT OF RELATED CASES
INFORMATION REQUIRED BY LBR 1015-2
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA

A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
copartnership or joint venture of which debtor is or formerly was a general or limited partner, or member, or any
corporation of which the debtor is a director, officer, or person in control, as follows: (Set forth the complete number
and title of each such of prior proceeding, date filed, nature thereof, the Bankruptcy Judge and court to whom
assigned, whether still pending and, if not, the disposition thereof. If none, so indicate. Also, list any real property
included in Schedule A/B that was filed with any such prior proceeding({s).)

none

2.

(If petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
Act of 1978 has previously been filed by or against the debtor or an affiliate of the debtor, or a general partner in the
debtor, a relative of the general partner, general partner of, or person in control of the debtor, partnership in which the
debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
complete number and title of each such prior proceeding, date filed, nature of the proceeding, the Bankruptcy Judge
and court to whom assigned, whether still pending and, if not, the disposition thereof. if none, so indicate. Also, list
any real property included in Schedule A/B that was filed with any such prior proceeding(s).)

None

 

3.

(If petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
previously been filed by or against the debtor, or any of its affiliates or subsidiaries, a director of the debtor, an officer
of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
of the debtor, a relative of the general partner, director, officer, or person in control of the debtor, or any persons, firms
or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
still pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule
A/B that was filed with any such prior proceeding(s).)

none

 

4.

(if petitioner is an individual) A petition under the Bankruptcy Reform Act of 1978, including amendments thereof, has
been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether still
pending, and if not, the disposition thereof. If none, so indicate. Also, list any real property included in Schedule A/B
that was filed with any such prior proceeding(s).)

none

 

| declare, under penalty of perjury; that the foregoing is true and correct.

 

 

  
 

Executed at santa rosa california , California. isi Jonathon Bradley Cohen
Jonathon Bradley Cohen
Date: duly 9, 2019 Signatire ‘

       

 

af ‘Deptor 1

sigtatd/e of Debtor 2

 

 

This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

October 2078 Page 7 F 101 5-2,1 -STMT.RELATED.CASES

Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 40 of 41

 
B2030 (Form 2030) (12/15)
United States Bankruptcy Court
Central District of California

Ince Jonathon Bradley Cohen Case No.
Debtor(s) Chapter 7

 

 

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)

1. Pursuant to 11 U.S.C. § 32%(a) and Fed. Bankr. P. 2016(b), L certify dhat I am the attorney for the above named debtor(s) and that
compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptey case is as follows:

 

 

For legal services, [have agreed to accept $ 0,00
Prior to the filing of this statement I have received a $ 0.00
Balance Due wee eeees we veeeeeeeee ” $ cece 2-00

 

2. $0.00 of the filing fee has been paid.

3. ‘The source of the compensation paid to me was:

EB Debtor 1 Other (specify):

4. The source of compensation to be paid to me is:

Ml Debtor C1 Other (specify):
5. Mi {have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

1] Ihave agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.
+
6. Inreturn for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
a. Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
b. [Other provisions as needed]

7. By agreement with the debtor(s), the above-disclosed fee does not include the following service:

 

     
 
  

 

 

 

 

 

 

 

CERTIFICATION
I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding. aa. mm

July 9, 2019 Sen

Date (/
Sigudture of Alorney
Nate of law firm

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Case: 19-10507 Doc#1 Filed: 07/10/19 Entered: 07/10/19 12:06:00 Page 41 of 41

 

 
